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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 JOHN ANTHONY CASTRO                                )
                                                    )
         Plaintiff,                                 )
                                                    )   CIVIL ACTION NO. 4:23-CV-556-Y
 v.                                                 )
                                                    )
 DONALD J. TRUMP, et al                             )
    Defendants.                                     )


       NOTICE OF NEW AUTHORITY REGARDING AFFIMRATIVE DEFENSE OF
            IMMUNITY CLAIMED BY DEFENDANT DONALD JOHN TRUMP

         In Blassingame v. Trump, 87 F.4th 1 (D.C. Cir. 2023), the D.C. Circuit held that former

President Donald J. Trump had failed to demonstrate, at the motion-to-dismiss stage, that he was

entitled to absolute presidential immunity from certain civil damages claims against him. Id. at 3–

5. Those claims arose out of actions he allegedly had taken related to the January 6, 2021 Capitol

riot. Id. at 4. President Trump had contended that he should be afforded immunity because his

alleged actions constituted speech on matters of public concern. Id. at 5, 14. Such speech was, in

his view, “invariably an official function.” Id. at 5. The D.C. Circuit rejected that argument. The

Supreme Court, they observed, had made clear that “absolute presidential immunity . . . is an

‘official immunity,’ that extends no further than the outer perimeter of a President’s official

responsibility.” Id. at 13 (quoting Clinton v. Jones, 520 U.S. 681, 693–94 (1997)). And the D.C.

Circuit reasoned that although a President often acts officially when speaking on matters of public

concern, he does not always do so. Id. at 14–16. A public-concern test, they therefore concluded,

was “ill-suited” to determining President Trump’s entitlement to immunity. Id. at 16. The salient


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question in Blassingame, they explained, was instead whether President Trump’s alleged actions

reasonably could be understood as official functions of the presidency, in which case official-act

immunity would attach, or, alternatively, whether they reasonably could be understood only as re-

election activity, in which case it would not. See id. at 16–19.

       The D.C. Circuit found that Smith v. Trump was indistinguishable from Blassingame in all

relevant respects. The plaintiffs sought damages from President Trump (among others) for actions

he allegedly took in connection with the January 6 riot. On appeal, the only question is whether

President Trump has demonstrated his entitlement to official-act immunity. See Harlow v.

Fitzgerald, 457 U.S. 800, 812 (1982) (“The burden of justifying absolute immunity rests on the

official asserting the claim.”). Trump argued, as he did in Blassingame, that he was entitled to

immunity because his alleged actions amounted to speech on matters of public concern. The D.C.

Circuit found that argument failed for the reasons explained in Blassingame: “whether [President

Trump’s] actions involved speech on matters of public concern bears no inherent connection to

the essential distinction between official and unofficial acts.” 87 F.4th at 14.

                                          CONCLUSION

       Official immunity extends no further than the outer perimeter of a President’s official

responsibility. In this case, 26 U.S.C. § 7217 expressly criminalizes contact between the White

House and the Internal Revenue Service, which is what Plaintiff has expressly alleged. As such,

the affirmative defense of immunity fails.



       Dated: January 8, 2024.                         Respectfully submitted,

                                                       By: /s/ John Anthony Castro

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                                       VERIFICATION

         Pursuant to 28 U.S.C. § 1746, I, John Anthony Castro, verify, under criminal penalty of

perjury, that the entirety of the foregoing document, including any and all accompanying exhibits,

are unequivocally true and correct.


Executed on January 8, 2024.


                                                     /s/ John Anthony Castro
                                                     John Anthony Castro



                                CERTIFICATE OF SERVICE

         I certify that a true and accurate copy of the foregoing document was filed with the Court

on January 8, 2024. I further certify that a true and accurate copy of the foregoing document was

served via CM/ECG on all parties; all of whom are registered with CM/ECF.



                                                     /s/ John Anthony Castro
                                                     John Anthony Castro




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